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WebRTC in the Financial Sector – An Interview
with Leo Papadopoulos from Cloud9
Technologies
June 22, 2015 / in Markets & People, VoIP / Add Comment


WebRTC is perceived by many as a technology that allows for in-browser, zero
download, voice and video communication. While this is true, it is also an open
source media engine that can be used in different ways. Cloud9 Technologies uses
WebRTC with a twist. This is because of 2 reasons: their application and the
market in which they operate.

Leo Papadopoulos is CTO & Technology Evangelist for
Cloud9 Technologies. We both know each other from our
previous business life so I asked him to share the details of
how they used WebRTC and other technologies for
building their service.

Q. What is Cloud9 Technologies all about?
We see ourselves as pioneers in delivering next
generation, high performance Cloud Communications Services for targeted
segments of the B2B market. We speci cally focus on segments that need
reliability, security, compliance, and superior support. Our early adopters are
   nancial institutions and the voice and messaging services used by institutional

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traders, called trader voice. The Cloud9 (c9tec) solution lets rms transition from
expensive, propriety hardware and private networks to applications deployed on
commercially available devices. We deliver this as a service with an easy to
understand and deploy SaaS business model.

Q. How do you make use of WebRTC in your service, what
was your main reason to select this technology?
We wanted to focus on our application and we needed a voice engine. We looked
at traditional stacks like SIP but they were way too stringent, required expensive
and in exible application servers, forced us to use signaling that simply did not
meet our needs, and did not include the actual voice engine itself. We quickly
realized that all the existing protocols were really just variants of old telephony
protocols. Quite simply, you cannot develop modern communications services
using protocols made to simulate phone lines.

We looked at WebRTC. It allowed voice & video connections, it included methods
for ICE/STUN/TURN, it included SRTP for secure voice, it included OPUS which is
a modern voice CODEC, and importantly it did not force us to use a prede ned
signaling protocol. It was almost as if someone designed this just for us.

We compiled WebRTC into our application much like the browser manufacturers
do. However, it is on top of this that we added our intellectual property that allows
us to deliver the unique and special needs of our customers. We layered in a user
interface speci c to our customers. Reliability and automatic recovery to keep
communications continuous. Instrumentation that allows us to deliver proactive
support, along with compliance features that regulatory agencies require of our
customers, and many more features.




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Q. Your use of WebRTC is not common, you have decided
not to bene t from the zero download option and compile it
into your application. What are the reasons for this decision
and do you see this changing in the future?
Most of the attention that WebRTC gets comes from companies that provide
toolkits and APIs and also obviously a lot of focus on call centers. We would
characterize these opportunities as consumer oriented or B2C at best. That
environment has a higher tolerance for browser based solutions and modest
support levels and reliability.

Our business focus is the enterprise and B2B services. So when we looked at
WebRTC, we said this is cool but how can we make it work at an enterprise level?
We’ve done that and it is one of the things that distinguishes Cloud9.

As for the zero download option – our view is that browsers are disposable and
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not suitable for an enterprise grade B2B service. They are a great option for
remote access but if you really want to deliver a service to a high end clientele it
needs to be packaged in an application with the performance, service levels and
support expected by Fortune 100 companies. This is particularly true for our
target markets.

Q. What are you using for signaling on top of WebRTC?
Just like a lot of the WebRTC community we use a WebSocket server for signaling.
We implement this using a Node.js server which has amazing performance. The
actual signaling that we use is proprietary and is part of what makes our
application special. It is within this signaling that we take some historically very
complex features and implement them in a new much simpler method. This would
have been impossible to do using traditional VoIP signaling protocols. However,
the combination of WebSockets and Node.js unleash amazing new power.

Q. What technologies are you using in your backend?
There are many technologies available to developers today. The only thing holding
anyone back is imagination. Putting these tools together in the right way and
adding your own ‘special sauce’ will lead to success. Here are just some of the
tools in our toolbox:

           Voice/Video Engine – WebRTC, OPUS, VP9
           Web services and signaling – HTML5, WebSocket, Apache, Node.js
           Development – C#, .NET, jQuery, PHP, MySQL, C++, Visual Studio
           Amazon Web Services – EC2, VPC, S3, RDS, Route 53, CloudWatch, SNS,
           IAM, & more.


We think this is pretty cool. You can build and deploy a high performance global
communication solution without ever talking to a carrier or telecommunications
equipment provider.

You could not do that even 10 years ago. In today’s world if you are building your

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own infrastructure, then you’re probably not investing enough on your service or
application and that means that someone else will probably beat you in the
market. The tools are there and we all must use them.

Q. Are you using any 3rd party services behind the scenes?
We are using:

           Amazon Web Services for all our servers, storage, and databases.
           Twilio for global SMS messaging.


We are also investigating Microsoft Azure because they seem to have some really
nice new products that allow for much better solutions for secure encrypted
storage in the cloud.

Q. What would you want to see coming into WebRTC as
roadmap?
I think for us the most important thing for WebRTC is voice quality and reliability.
To this end here are a few speci c features we would like to see:

           5msec packet support, for codecs that support it, including 5msec audio
           frame support for AEC, noise reduction, etc. More than the CODEC all the
           audio algorithms should support small packets for latency critical
           environments.
           RTCP-XR VoIP metric and statistics summary block report support. This
           allows us to better deliver superior support to our customers by seeing their
           problems before they do.
           Customizable audio lters, for example a multiband EQ.
           Con gurable STUN ping period. The default period is too fast and uses too
           much bandwidth and CPU as a result. This has been addressed at the last
           IETF meeting but hasn’t been nalized and guidelines have not been
           published yet.


 Q. Any future plans for Cloud9 Technologies you would
 want to share?
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want to share?
We see a very broad opportunity for WebRTC. In fact we think it’s
transformational and will ultimately change the way you think about
communications and messaging and everything from browsers and call centers to
the very way you make a call or message with your cell phone.

For Cloud9:

           Our focus is on the high end of the B2B market where service levels and
           performance matter.
           Our services are designed for work groups and teams, as well as individuals.
           Team engagement and collaboration is a key part of any enterprise.
           Technologies like WebRTC let companies like Cloud9 deliver secure and
           compliant services in today’s mobile and global environment.


We support team collaboration both within and between enterprises. Much
attention has been placed on collaboration within an enterprise but many of these
services miss the mark when it comes to engagement between companies. We
think this is a largely underserved market opportunity and look to leverage
WebRTC and Cloud services to transform the way business counterparties
connect and communicate.

You may also like:




IBM WebSphere             WebRTC Based              OpenWebRTC: An        An Interview with
and WebRTC – An           UC for Service            Interview with        Veselin Pizurica
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 Trade Secrets Policy

 An important part of the success and value of IPC’s business is contained in its confidential
 business information and trade secrets. It is very important that all employees take appropriate
 care to protect such confidential business information and trade secrets to ensure that:
     they do not end up in the possession of third parties that should not have access to
       them, such as competitors
     they do not become public knowledge and therefore lose the protection granted by
       applicable laws
     all uses of confidential information and trade secrets are necessary and appropriate
       for the business interests of IPC

 For the purposes of this Policy references to employees shall include consultants and
 contractors.

 IPC takes the protection of its confidential business information and trade secrets very
 seriously. In addition to any obligations imposed by applicable law, IPC requires all employees
 to agree to confidentiality and non-disclosure obligations, whether contained in an employment
 agreement or a separate agreement. In addition to these obligations, employees are required to
 comply with the spirit and the letter of this Policy.

 IPC employees who fail to comply with this policy may be subject to disciplinary procedures,
 up to and including termination of employment from IPC. In addition, IPC will pursue any
 and all remedies against the employee available to it under applicable laws where there has
 been misuse of trade secrets or confidential information.
 Any breach of this Policy or any other obligations, policies and/or procedures relating to trade
 secrets and/or confidential information, may cause substantial and irreparable harm to IPC. To
 the extent permitted by applicable law, IPC may seek injunctive relief and any other relief that it
 deems necessary and appropriate under the circumstances to protect its rights.

 What Constitutes Trade Secrets and Confidential Business Information
 In the US under federal and state law, a trade secret is generally any formula, pattern, device or
 compilation of information that (i) is used in a business, (ii) is unknown to others outside that
 business, (iii) gives the business a competitive advantage, and (iv) is the subject of reasonable
 efforts to maintain its secrecy. A trade secret does not have to be unique or novel; it need only
 provide a distinct economic value to IPC. Confidential business information includes trade
 secrets as well as other proprietary information that may not rise to the level of a trade
 secret. Trade secrets and confidential business information may be defined differently
 depending on the jurisdiction and IPC will always seek the maximum protection of its business
 afforded by the local courts.

 The following is a non-exhaustive list of items that qualify as IPC trade secrets and/or
 confidential business information:
     IPC customer lists
     The names and qualifications of IPC’s development partners and/or contractors
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    Any aspect or description of IPC’s relationships with its customers, for example,
     product or service purchases, pricing policies, price lists, discounts, orders and revenue
    Computer systems, software (object code and source code) and databases
    Internal specifications, technical processes, testing procedures, diagrams, designs,
     drawings, models, and any other techniques, developments, improvements,
     inventions, and processes that are, or may be, produced in the course of IPC’s
     engineering or other operations
    Marketing development and research plans
    Manufacturing processes or techniques
    Financial, accounting, and legal information
    Any other information not generally and publicly known regarding IPC or its
     operations, products, suppliers, markets, sales, costs, profits or customers, or other
     information acquired, disclosed or made known to any employees or agents during the
     course of their employment or agency that, if used or disclosed, could adversely affect
     IPC's business or give its competitors a commercial or economic advantage.

 Information will not be regarded as trade secrets and/or confidential information if such
 information:
    is available in the public domain (provided this has not happened because of a breach
     of any obligations regarding confidentiality or trade secrets)
    was independently created by a third party
    is trivial or obvious

 Treatment of Trade Secrets and Confidential Information
 Employees owe IPC a high duty of loyalty. Employees must keep trade secrets and confidential
 business information confidential both during and after termination of employment with IPC for
 whatever reason (provided that in the case of confidential business information it shall be kept
 confidential for the maximum period permitted by applicable laws).

 To assist in your continued compliance with your confidentiality obligations, here are a few
 tips:
     Protect your computer password; do not share it with anyone outside IPC or anyone
       within IPC other than as specifically directed by the IT Department.
     Keep sensitive files secure when you are away from your office or desk; lock your
       office door when you leave at the end of the day.
     Do not share confidential business information (including e-mails) or trade secrets with
       anyone outside of IPC unless there is a legitimate business reason for them to know
       the information and, only then, if they relate in any way to trade secrets with the
       permission of your supervisor or the Legal Department. This restriction includes
       friends, acquaintances and former IPC employees.
     Be careful (i.e., thorough) when destroying/discarding documents containing
       confidential business information and/or trade secrets.
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    Identify as "Confidential and Proprietary Information of IPC" in boldfaced letters all
     documents created and/or distributed by you which contain confidential business
     information or trade secrets.
    Be vigilant in guarding your Blackberry, laptop and other portable devices which
     contain sensitive IPC information.
    Do not share IPC confidential business information with third parties (including
     consultants) unless they have signed a standard IPC non-disclosure agreement
     (available on the intranet site).
    Do not share IPC trade secrets with third parties (including consultants) unless they
     have signed a standard IPC non-disclosure agreement (available on the intranet site)
     and you have permission from the Legal Department.
    Do not engage in sensitive business conversations in elevators or other public spaces
     where third parties may eavesdrop. We are in a narrow, discreet market -- you never
     know who is listening.

 This is not an exhaustive list; we encourage each of you to implement additional protective steps
 that can be taken within your particular area.
 Employees are not authorized to access or use IPC’s trade secrets and/or confidential business
 information for any purpose other than those specifically authorized by IPC. In no
 circumstances may trade secrets or confidential business information be accessed or used for the
 employee’s own benefit, for competitive purposes or for non-IPC business purposes. Accessing
 IPC’s trade secrets and/or confidential business information with the intent of using them in a
 manner that is in breach of the employee’s duties or obligations owed to IPC is also prohibited.

 Employees shall not discuss any matter that constitutes a trade secret with anyone other than an
 employee of IPC who has a need to know such information without the prior written consent of
 the IPC General Counsel. An employee shall not discuss any matter that is of a confidential
 nature with anyone other than an employee of IPC or a third party (where such third party has
 been specifically authorized by IPC and is under a duty to protection such confidential
 information) who has a need to know such information. Any discussions that do take place must
 be appropriate in both their content and location. Employees should never discuss any
 confidential business information or trade secrets in a public place. Without limiting the scope
 of the previous sentences confidential business information and trade secrets should never be
 discussed with a competitor of IPC (including its employees, contractors and agents). Such
 discussions may cause IPC and the employee personally to have violated applicable
 Antitrust/Competition laws.

 Each employee has a responsibility to take reasonable precautions regarding the security and
 safekeeping of confidential business information and trade secrets, including but not limited to
 marking all plans, internal PowerPoint presentations and other confidential materials
 “confidential” and locking up or otherwise securing such information. Employees are
 responsible for the security of any passwords or encryption keys they are given or create to
 protect any IPC confidential information or trade secrets. You should not share or allow others
 to use such passwords or encryption keys.
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 Employees shall not disclose or share confidential business information and/or trade secrets
 through social media such as Facebook, LinkedIn, Twitter etc. Please also refer to IPC’s Social
 Media Policy. Employees should think carefully about the media through which they
 communicate confidential information and/or trade secrets. Where practicable, avoid sending
 unprotected electronic versions of confidential business information. Electronic versions of trade
 secrets must never be sent without appropriate encryption or protection.

 Every employee must disclose fully to IPC any inventions, ideas, works of authorship, and other
 trade secrets that are made, developed, and/or conceived by him or her alone or jointly with
 others or that arise out of or relate to his or her employment or other relationship with IPC. All
 such inventions, ideas, works of authorship, copyrights, and other trade secrets are and shall
 remain the sole property of IPC. Each employee must agree to execute and deliver to IPC such
 assignments, documents, agreements, or instruments that IPC may require from time to time to
 evidence its ownership of the results and proceeds of the Employee's services and creations.

 Upon termination of employment or at IPC’s request, each employee shall promptly return to
 IPC all memoranda, notes, records, reports, technical manuals, and any other documents (and all
 copies thereof) in his or her possession, custody, or control relating to IPC’s business including
 IPC trade secrets. IPC may require the employee to certify that they have complied with this
 obligation.

 Further Information/Advice
 Please contact the Legal Department with any questions, comments or concerns regarding this
 Policy or the use of confidential information or trade secrets.
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       Cloud9 Introduces Gateway Service to
       Help Firms Connect with More
       Counterparties and Migrate Away from
       Turrets
       Posted by Steve Kammerer on May 2, 2016 6:17:54 PM

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       Cloud9 is now introducing Gateway: a service enabling traders to toss their turrets but still
       stay connected with counterparties, even if they are not yet using Cloud9.


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6/14/2016              Cloud9 Introduces Gateway Service to Help Firms Connect with More Counterparties and Migrate Away from Turrets
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       The Cloud9 Gateway service provides system interoperability between existing trader voice
       circuits and the Cloud9 community by converting traditional TDM T1/E1 to WebRTC protocol. 
       Cloud9 users can seamlessly connect with trading rms not yet established on Cloud9’s
       service and maintain their functionality for both shout-downs and ring downs. 

       The Gateway Service supports two deployment models: hosted or on-premises. Both
       con gurations offer various features and bene ts, although Cloud9 recommends reviewing
       your technical and support needs to determine which option is best for your rm. 

       Advantages of the Cloud9 Gateway service include:

                Ability to expand your trading network and connect to counterparties on and off
                Cloud9.
                Rapid migration from trading turrets onto the Cloud9 service
                Improved disaster recovery capabilities by giving rms the ability to maintain
                connectivity during disaster scenarios.

       Hosted Service

       The hosted gateway option allows Cloud9 users to access traditional trader voice circuits by
       connecting their circuits to Cloud9 at a hosted facility. Pricing for this service is on a per
       month basis.

       Bene ts of a Hosted Service Include:

                Best support model for rms looking to relocate of ces while transitioning to Cloud9.
                Circuits can be accessed by Cloud9 users within the rm from any location once they
                are connected to carriers.
                Ease of management by deploying inside a controlled data center environment vs on-
                premise.
                Loss of Internet or catastrophic event has no effect on operations due to redundancy
                within an off-site facility.
                Upgrades, patches and new features are included.

        On-Premise Service

       The on-premise service option is for customers that prefer not to move their existing trader
       voice circuits to a hosted data center. It also requires that a suitable IT environment be
       established for installing the Cloud9 gateway. This service option also gives customers a
       choice to purchase the service through monthly recurring fees, or as a single one-time
       charge.


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       Bene ts for The On-Premise Service Include:

                No requirement to coordinate circuit relocation with telecom carriers - lines can be
                managed on site.
                Available for Cloud9 customers regardless of location.
                Upgrades, patches and new features are included.

        

       To learn more about Cloud9, check out this quick introduction. 


        

       Topics: Cloud9 Product, Cloud9 News




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       The Next Generation of Trader Voice Is Here

       It's Time for Cloud9
       Cloud9 is transforming the trading oor with modern technology to power trader voice
       capabilites and link nancial communities together from all over the world.

       Join 2000 traders, across 350 rms in 21 countries on Cloud9 to:

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C9 Trader Service
User Guide
JUNE 2017
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 1. Launching the C9 Trader
 Installation of the C9 Trader application on your computer places an icon on your
 desktop so that you can access Cloud9.


                 Double-click on the C9 Trader icon to start the application.




 2. Logging in to Cloud9
 To begin using Cloud9, log in with your unique username and password. The first time
 you log in, enter the username and password provided in the welcome email sent by
 Cloud9.

 The password you received is temporary, and you will need to change it to a personalized
 password of your choice.

 There are also two options you can
 select when logging in:

    o   Save Password: If selected,
        your credentials will autofill
        when you log in.

    o   Working Remotely: Select if
        you are working from a
        location outside of your office
        or desk. This disables the
        neighbor feature and will
        allow you to communicate
        from outside of the office with
        the coworkers programmed to
        your neighbor list.
                                                          C9 Trader Login Screen




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 3. Cloud9 Home Screen
 Once you’re successfully logged into the C9 Trader, you will see the following window,
 with buttons representing connections to your counterparties displayed.




                                    C9 Trader Home Screen



 3.1 Control Panel
 The Control Panel, to the left of your main screen, contains buttons that enable you to
 access setting and configuration capabilities for your C9 Trader.

 3.1.1 Home Button
 When logged into Cloud9, the home screen displays by default. Configuring buttons and
 various settings will open new windows and menus. Clicking the Home button will bring
 users back to the main screen of the application.

 3.1.2 Community Button
 Selecting the Community button opens the Cloud9 Community window, which enables
 users to provision connections to firms and organize their buttons. Section 4.0 of this
 user guide provides more detail about making connections using the Cloud9 Community
 and the other features available through the Community window.




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 3.1.3 Microphone Control Button
 This button allows enables users to toggle to an established microphone device for use
 during current speaker call. When the microphone is in use, a volume meter will display,
 showing the level of sound being transmitted.

 3.1.4 Handset Control Button
 This button enables the user to toggle to an established handset device for use during a
 call that is being broadcast through a speaker. When the handset is in use, a volume
 meter will display, showing the level of sound transmitted through the device.

 3.1.5 Privacy Control Button
 This button will only be available if a user has the privacy feature enabled for their
 account by their administrator. This button toggles privacy settings on and off. (See
 Section 6.2 for more details)

 3.1.6 Settings Button
 This button opens the Settings menu on the right side of the home window. The Settings
 menu (see Section 3.5) allows a user to set their preferences in your C9 Trader.

 3.1.7 Call History Control Button
 This button displays a user’s Call History in the bottom half of the application, and shows
 all of the call events that have occurred for the user since they have logged into the
 service.

 3.1.8 Click to Call Button
 The Click to Call button opens a separate window where users can conduct one-on-one
 calls, using dialing capabilities, to any desk phone or mobile phone. (See Section 5.1 for
 more details)

 3.1.9 Master Volume
 The user can control the volume of the C9 Trader application using the slider on the
 Master Volume button. This is always relative to the master volume of the C9 Trader
 when the user logs in and will not affect the volume of any other applications. This icon
 also has a receive level indicator that lights up when a user receives a call.

 3.1.10 Call Release Control Button
 The Call Release button enables a user to end an active call. By clicking this button, a
 user can hang up on a call.




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 3.2 Button Presence
 Each button displayed on your
 main screen represents a
 counterparty. You can initiate a
 call to a counterparty via a
 shoutdown or a ringdown. Each
 button provides the user with
 presence status about their
 counterparty and whether a
 current voice call is in progress.




                                                    C9 Button types and status indications
 3.2.1 Button Subscribers
 The C9 Trader makes it easy to see the subscribers associated with each of your buttons.



                            When a button has up to two active subscribers, their names will
                            display on the button.



                            When a button has three or more active subscribers, the button
                            will display the number of users who are connected.



                            To view the full list of people who are connected to a button, you
                            can right click on that particular button and it will open up a list
                            that includes all currently connected parties by both first and last
                            name



                            When you are speaking, your name will be displayed on the
                            button so everyone else connected can see who is speaking. The
                            speaker’s last name is prioritized over the subscriber list. You can
                            still right click on the button to view the entire subscriber list.




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 3.2.2 Auto Connect
 Buttons can be set to Auto Connect which
 establishes a constant open audio path as long
 as this feature is enabled. Auto Connect is
 particularly useful if your firm has two office
 locations and want to listen to the activity
 occurring in the other office.

 To enable Auto Connect, right click on the
 button of the counterparty to establish a
 connection and select the Auto Connect Off
 option. This will checkmark Auto Connect into
 the “on” position.

                                                                 Enable Auto Connect

                                                         An open audio path is now enabled,
                                                         and will flash green on your end
                                                         and red on the far-end.

                                                         To disable Auto Connect, right click
                                                         on the button and deselect the Auto
                                                         Connect option. Select Ok to
                                                         confirm.




                Open Audio Path




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 3.3 Button Volume
 Instead of adjusting the master volume on your computer, speakers, or by using the
 Master Volume button, you have the ability to adjust the volume of individual buttons.
 This gives you more control over which of your counterparties you want to hear at a
 given time.

 When hovering your mouse over any of your buttons (active or
 inactive) you will see a scroll bar appear on the right of the button.
 This indicates the volume setting for that connection. You can adjust
 the volume by either using the scroll-wheel to increase/decrease the
                      volume or by clicking and dragging the slider.

                     When you mute your counterparty by reducing their volume below
                     an audible level, a red indicator will display on the button.

                      Note: If using an 8 or 16 button board, button your volume may also
 be adjusted via the volume knobs on the board.



 3.4 Group Broadcast Buttons
 In addition to shouting to a single counterparty, Group Broadcast buttons, located at the
 bottom of the C9 Trader, enable you to shoutdown to multiple connections at once.

 When a Group Broadcast button
 is selected, it will open your
 microphone to all of the mapped
 buttons.

 If your counterparty responds,
 the conversation is still one to
 one. The other counterparties in
 the group cannot hear the
 conversation.




                                                            Group Broadcast Buttons




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    o   Drop Functionality: When shouting down to a group of assigned counterparties,
        you can disconnect from a specific counterparty by clicking on the button
        assigned to that counterparty. This will disconnect that line without disconnecting
        all the counterparties associated with the group.

        This function is important in a scenario where you are shouting out to a group of
        individuals and would like to drop a participant from the activity in progress.

    o   Add Functionality: When shouting down to a group of assigned counterparties,
        you can also add a new counterparty to the group by clicking on the button
        corresponding to that counterparty. The new counterparty is added to the group
        broadcast for the session that broadcast is active. As soon as the group broadcast
        has been unselected, the added counterparty will no longer be part of any future
        conversations using that group broadcast button.

    o   Creating a Dynamic Group: Users can select an empty group broadcast button and
        dynamically add up to ten counterparties to create an impromptu group
        broadcast. Once the broadcast has ended, that group broadcast button will reset.
        Note: Turning on Multi-Press (Section 3.5.1) will disable the ability to use an empty
        group broadcast to create a dynamic group,

 Details on the setup of a Group Broadcast button are located in Section 3.5.2.

 3.5 Settings Menu
 Many of the features of the C9 Trader can be controlled by the Settings menu. Clicking
 on the Settings button within the control panel will display the Settings menu on the right
 side of the application.

 There are eight options to select within the settings menu:

    o   Application

    o   Broadcast Groups

    o   Audio Devices

    o   Notifications

    o   Button Board

    o   Technical Support

    o   About C9

    o   Help

    o   Exit


                                                                       C9 Trader Settings


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 Selecting any of these menu items will expand the display, and allow you to access and
 adjust your options.

 3.5.1 Application Settings
 The Application Settings tab enables you to set some of
 your personal preferences for your C9 Trader.

 The Record My Calls setting displays whether or not your
 user account has call recording turned on or off. This
 option cannot be changed within the application itself.
 Please contact your system administrator if you need to
 have your call recording option adjusted.

 Auto Start determines whether the C9 Trader will start
 automatically upon turning on your computer or device.
 Auto Login will enable you to bypass the login window and
 automatically login using your personal credentials.

 Note: In order for Auto Login to work, you must have the
 save password option selected on the login screen.
                                                                         Application Settings
 The Always On Top setting enables you to control whether the C9 Trader application
 window always appears on top of other applications or if it can be placed behind other
 application windows running on your computer.

 Click to Call Auto Start determines whether or not Click to Call will register automatically
 when users log in to the C9 Trader. This enables users to receive incoming calls even if
 the Click to Call window has not been launched. Please note, Auto Start must be
 switched to the on position or inbound calls will not be received.

 The Click to Call Launch Window provides the option for the Click to Call window to
 automatically launch when the user logs in to their C9 Trader. In the scenario that the
 Click to Call window is minimized and the user receives and incoming call, a notification
 will display, and the user must select the notification to answer the call. Please note, Auto
 Start must be switched to the on position.

 Enabling Multi-Press allows a Cloud9 user to randomly select and unselect shout down
 connections to create a dynamic group broadcast. In the Application Settings menu,
 users can toggle between the current single-press (off) and new multi-press (on)
 functionality.

 Note: Turning multi-press on will disable the ability to use an empty group broadcast to
 create a dynamic group.




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 3.5.2 Broadcast Groups
 Broadcast Groups enables you to set up and name your Group
 Buttons, used to shout to multiple counterparties at once.

 Users can create up to four different groups. The first drop down
 menu enables you to select which of the four groups you want
 to edit.

 You also have the ability to rename is group within the textbox.
 Please note that group names can only consist of alpha-numeric
 characters.

 Up to ten different buttons can be assigned to a group. Those
 buttons are selected via the drop down menus below the group
 button name. Only connections that are currently on your user
 interface will be selectable.

 Groups are automatically saved once each selection is made.

 Note: Ringdown connections cannot be assigned to a group.

 3.5.3 Audio Devices
                                                                       Broadcast Groups Settings
 Usage of the application requires a microphone and speaker. The
 Audio Devices section of the settings menu will enable to you
 select those devices and configure them so that your voice is
 being transmitted clearly. The section is broken down into three
 segments: Microphone Audio, Handset Audio and Notification &
 Alert Devices.

 The Microphone Audio segment controls the configuration for
 your default microphone and speakers being used with the
 application. You can select your default microphone and speaker
 devices via their respective drop down menus. You can adjust the
 volume of your microphone using the slider below the
 microphone drop down to suit your environment and ensure no
 background noise is picked up. Additional audio boost can also be
 added to amplify your voice once it’s picked up by the
 microphone.

 The Handset Audio settings enable you to configure a handset if
 you choose to use one. Similar to the microphone audio, you will
 have to select both the microphone and speaker that are
 associated with the handset. Again, the volume can be adjusted to
 fit the surrounding environment.

                                                                               Audio Devices



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 In the Microphone and Handset sections you also have the option to select a default
 device for responding to shoutdown calls. All incoming audio will be received on the
 speaker, and, if you would prefer to respond with a handset on these calls, you can
 change the default setting using the Default Device radio button.

 If you do not make a selection, your microphone will automatically be the default device.
 You can also still toggle between your microphone and handset for individual calls at any
 time.

 In the Notification & Alert Device segment, you can select the device
 that will transmit a ring when someone is signaling on a ringdown connection.

 Important Note: If a device is in use on the C9 Trader, then it will not be available for
 selection or use on Click to Call. The device will be greyed out in the drop down.

 3.5.4 Notifications
 Notification options allow you to adjust the type of ring and
 notifications you receive when using the application.

 On Hook State refers to when your application is in an idle state and
 you’re not engaged in conversation with counterparties. The ring
 options determine the duration of the ring when a counterparty is
 connecting to you via a ringdown button. You have the option to
 turn the ring notification off, be alerted with only a single ring, or
 have the application ring continuously until you either answer or the
 counterparty hangs up. The default setting is continuous ring.

 Off Hook State refers to when you’re actively engaged with a
 counterparty. Similar to the on hook state, this option will determine
 the duration of the ringer when a counterparty attempts to reach you
 via a ringdown button. The default for this option is set to single ring.

 Both on hook and off hook states have various ring tones that can be
 selected from the dropdown menus in each section.                                 Notifications

 Below the ring options for the application are settings to adjust
 the popup notifications that appear on your desktop when the
 application window is closed and running in the background:

    o   Ringdown Pop-up: This option allows you to receive pop
        up toast messages when the C9 Trader application window
        is closed and call activity occurs on ringdown buttons
                                                                                 Pop-up Notification
    o   Shoutdown Pop-up: This option allows you to receive pop
        up toast messages when the C9 Trader application window is closed and call
        activity occurs on speaker buttons



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 The Activity Indicator Delay setting is located at the bottom of the menu. This setting
 determines how long a button will flash on your interface once a call has ended if it goes
 unanswered. The default is set to three seconds but you can select a range from 0 - 60
 seconds.

 3.5.5 Button Board

 Instead of using the mouse to engage your buttons, you can opt to use a button board.
 There are many benefits to using the button board, the main one being speed and
 efficiency. Button boards connect to your computer via USB and come in three sizes – 8,
 16, or 24 buttons.

 The button board acts independently of the application when it is first plugged in. You
 need to map the buttons you want to use to the board. This is done by selecting Button
 Board within the Settings menu. The board size will automatically be detected by the
 Cloud9 application, and the Button Board Configuration window mirroring your device
 will display on the bottom of your C9 Trader Screen.

 For each button displayed in the window,
 click the drop down menu and select the
 connection you would like to assign to that
 button.

 On the 8 and 16 button board, in addition to
 assigning individual button connections, you
 can select group buttons, assign a call
 release button - which enables you to press
 a button to end a call, or assign a handset
 toggle button - which enables you to press a                 Button Board Configuration
 button to switch to a handset.

 On the 24 button board, you can assign group broadcasts to buttons as well as designate
 a Float button on your board. A Float button holds space on your button board for
 incoming calls from other pages on the board, so you can access them easily.

 The 24 Button Board also features fixed function keys that support handset toggle, call
 release, as well as arrows that allow for navigation on the board.

 On all button boards, buttons can be set up to be either momentary or latching:

    o   Momentary (default): Push to talk, the microphone is open while you hold the
        button down.

    o   Latching: One push will open the microphone (no holding necessary) and another
        push will close it. Ringdowns, which can be assigned on the 24 button board, can
        only be set as latching.



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 3.5.6 Technical Support
 Cloud9’s customer service and support team is available 24/7 to help you with any
 questions you may have about Cloud9. Clicking on the technical support option within
 the settings menu will open a new email addressed to the Cloud9 support staff at
 helpdesk@c9tec.com. The email will be opened using the default program set by your
 Windows operating system.

 The email itself will have the address and subject already filled out for you. All you need
 to do is fill out the body of the email, providing as much detail as possible about the
 problem you are having.

 All emails sent to Cloud9’s support staff are answered within 24 hours, with many issues
 finding resolution in under five minutes.

 3.5.7 About C9 Trader
 Clicking About C9 Trader displays information about the
 current version of software you are running. Some of the
 information displayed here might be useful in troubleshooting
 any service-related issues you may be having.


 3.5.8 Help                                                                  About C9 Trader

 Clicking Help redirects users to the Cloud9 Support Knowledge Base, which contains helpful
 video tutorials, step by step guides, and articles about every feature of the C9 Trader and
 Portal.

 3.5.9 Exit

 Clicking Exit will fully close the application and log you out of the service. Before exiting,
 a confirmation displays to ensure that this is a deliberate action.

 Note: Clicking the X icon in the top right of the application window will not close the
 application. Doing this only minimizes the interface while the app runs in the background
 off-screen.




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 4. The Cloud9 Community
 The Cloud9 Community is the main feature of the C9 Trader application. Access to the
 Cloud9 Community allows you to connect with other firms instantly. From the
 Community window you can request connections to other participating firms and
 instantly provision new buttons, accept requests from other firms, and organize your C9
 Trader Buttons.

 There are four main tabs:

    o   Create Invitation

    o   New Invitations

    o   Connections

    o   My Buttons



 4.1 Create Invitations
 The first tab in the community display allows you to search for and connect with available
 firms and trading groups. You can scroll through, or use the search function to find listed
 firms in the Community. When you find the firm you are looking for, click the Invite
 button to create an invitation. Choose what kind of connection will be established,
 shoutdown or ringdown, and what the button label will be for your firm as well as the
 counterparty’s firm. Click done to send the invite to the counterparty trading group.



                                                                        Find a firm

                                                                        Create the invitation




                                                                   Set connection
                                                                   options

                                                                   Label the
                                                                   button


                             Creating A Connection



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 4.2 New Invitations
 The New Invitations tab displays all new connection requests that have been created
 within the last 24 hours. These connections can be accepted and added as an active
 button on your interface. If not accepted after 24 hours, the connection will no longer be
 listed in this section of the community display. Instead, they will be moved to the
 connections tab.




                                                                    Connection
                                                                    details

                                                                     Accept an
                                                                     invitation



                             Accepting An Invitation



 4.3 My Connections
 The third tab displayed on the Community Window lists all of the connections that are
 available for the user to convert into active buttons. An active button can be a shoutdown
 or ringdown connection and can be used for internal communications within the firm, or
 used to communicate with traders in external firms.


                                                                       Apply search filters




                                                                       Make connection
                                                                       a button


                                                                       View connection
                                                                       details

                           Adding Connections




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 4.4 My Buttons
 The last tab in the community window enables you to manage all of your contact
 buttons. On this tab you can:

    o   Reorder Button Layout: Click and drag a button to change its location on your C9
        Trader.

    o   Relabel Buttons: Type the new name in the label field at the bottom of the screen.

    o   Delete Buttons: Click the trashcan icon on any button.

    o   Get Detailed Subscriber Information for Each Button: Select a button, and
        information including the name of the button, button type, and users that share
        the connection will appear at the bottom of the screen.

    o   Set Positional Audio: C9 Trader users can assign individual button audio to be
        transmitted from the left, center, or right speakers. To enable positional audio,
        your administrator will need to contact the Cloud9 Helpdesk.

        To assign a button to a certain speaker, select the button and use the Positional
        Audio dropdown in the button details section to select which speaker the audio
        will come through for that button – left, center, or right.

        By default, all your buttons will be assigned to transmit audio through your left,
        center, and right speakers.




                                                                                  Reorder
                                                                                  Buttons




                                                                                 Button
                                                                                 details




                                     Managing Buttons



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 C9 TRADER USER GUIDE


 5. Click to Call
 To conduct calls to any desk or mobile phone from the C9 Trader, select the Click to Call
 button. This will open a separate window where you can conduct calls and access your
 contact directory, which is integrated directly with Microsoft
 Outlook.
 There are a number of key features:
    o   Basic Calls: Type a phone number into the dial pad,
        accessed on the lower right of your Click to Call screen,
        to talk to any counterparty in seconds. You can also press
        any name in the directory to call or type any phone
        number or name in the Smart Search box at the bottom
        of the screen.
    o   Call Hold and Release: When a call is in progress, you can
        hold calls by pressing the pause button in the top left
        section of your Click to Call window. When finished, you
        can release a call by pressing the red phone icon.
    o   Call Transfer: (Cisco Call Manager Users Only) You can
        transfer a call to another telephone number by pressing
        the transfer button on the right of the active call window.
        You can conduct attended transfers, which allow you to
        notify and pass on information to the recipient of the
        transfer, or unattended transfers, which simply sends the            Click to Call Window
        call to the other party without providing additional information.
    o   Directory: Create directory entries yourself by clicking the“+“ sign on the lower left
        of your screen. Click to Call also syncs with your Microsoft Outlook directory. In
        the Smart Search box at the bottom of the window, type in the name or number of
        the contact you would like to add. Click the arrow, then Favorite to add the
        contact to your directory.
    o   Favorites: Click the arrow next to each contact to add them to your favorites.
        These contacts will always appear in your directory.
    o   Smart Search: Use the Smart Search box at the bottom of the window to search
        for contacts by name or number. Call them directly from this window or add
        contacts to your directory.
    o   History: Access all dialed, recieved, and missed calls from the call history page.
        Users can return any calls from this page.




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 C9 TRADER USER GUIDE

 5.1 Click to Call Settings
 Click the gear icon in the upper left side of the window and the Click to Call Settings
 Menu will display.

    o   Audio Devices: Here you can select your
        microphone and speaker device for Click to Call. If a
        device is in use on the C9 Trader, then it will not be
        available for selection or use on Click to Call. The
        device will be greyed out in the drop down.

    o   Line Registrations: This indicates the current status
        of your line. A check mark indicates that your line or
        extension is registered and ready for use. If your line
        is not registered, contact your Administrator to
        modify your line registration in the Cloud9 Portal.

    o   SIP Settings: This tab shows your Session Initiation
        Protocol (SIP) Settings. If you need to change these             Click to Call Settings
        settings, contact your Administrator to modify your SIP Settings in the Cloud9
        Portal.

    o   Exit: To log out of your Click to Call window, select Exit and confirm that you
        would like to end your session. This will not log you out of your C9 Trader.

 5.2 Click to Call History
 Call History for Click to Call can be accessed by clicking on the
 icon next to the dialpad in the Smart Search Bar. This shows
 history of calls made and received only from Click to Call.

 If a call has been missed, the call history icon will change color
 to teal. Once the history is viewed, the icon will reset to white.
 Call history is not saved between sessions and will be cleared
 upon exiting Click to Call.

 By default, all call history will be displayed. Within the Call
 History page users can filter by the following call types:

    o   All

    o   Dialed

    o   Missed

    o   Received


                                                                               Click to Call History

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 C9 TRADER USER GUIDE

 5.2.1 Call History Return Call
 Users can instantly initiate a call from the Call History page by selecting the return call
 button to the right of the contact. Once a user selects the return call button, they will be
 taken to the main screen for access to the additional call control buttons, i.e. Call Hold.

 The following scenarios would prevent this option from being available to the user:

    o   The number is unknown

    o   The user’s lines are not registered



 5.3 Message Waiting Indicator
 Users that are utilizing Cisco Call Manager and have voicemail supported within their
 environment can now get voicemail notifications through the Click to Call window.

 Customers that are provisioned for voicemail, both within
 their network as well as the Cloud9 portal, will have a red
 Message Waiting Indicator on their Call History icon
 notifying users of new voicemail. A user can access their
 voicemail by selecting the Call History icon.

 This Call History display includes all extensions provisioned
 for voicemail. A red dot indicates that new voicemail is
 available on that extension. Selecting an extension initiates
 a call to voicemail, and the user may be required to enter
 their PIN to retrieve messages. Users may also initiate calls
 to voicemail regardless if new messages exist.                         Message Waiting Indicator




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 C9 TRADER USER GUIDE


 6. Additional Features
 6.1 Call History
 The Cloud9 application has a call history feature which enables you to see the call events
 that have occurred since you have logged into the service.

 The Call History screen can be brought up by clicking the history button located within
 the control panel.

 Call History data includes:

    o   Button Name

    o   Caller

    o   Timestamp

    o   Call Duration
                                                           C9 Trader Call History


 6.2 Privacy
 If the Privacy feature is enabled on your account, you can turn it on for your ringdown
 connections. When Privacy is enabled, no one else from your own firm and group will be
 able to pick up the connection and participate in the conversation.

 The Privacy feature is set in the Cloud9 Portal on a user by user basis. There are two ways
 that Privacy can be enabled in the portal:

    o   Default on: any time the user picks up a ringdown connection, Privacy is enabled

    o   Default off: you will need to turn Privacy on in order to prevent other users from
        participating in the conversation

 You are able to toggle the privacy on and off by clicking on the option in the control
 panel or by setting it as a toggle on their button board. When you disconnect from your
 ringdown, privacy will return to the default selection chosen in the portal.




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 C9 TRADER USER GUIDE

 6.2.1 Privacy Status

 A lock icon will appear on the button indicating that privacy is enabled for the call.

 The phone icon indicates that privacy is not enabled and that the button is acting like a
 regular ringdown connection.




                                         Call Privacy

 6.3 Performance Alerts
 Performance alerts give C9 Trader users insight into factors that may affect their ability to use
 the platform. These notifications will indicate a user’s network conditions such as internet
 connectivity and UDP connectivity.

        o   Internet Connectivity: The internet connectivity notification will alert users when
            internet connectivity conditions fall below an optimal range to support
            performance for the Cloud9. A yellow icon in the top right corner of the C9
            Trader indicates a network warning, triggered when internet availability is between
            60-80%. A red icon indicates a network error, when availability is between 0-60%.




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        o   UDP Connectivity: When the user logs in, the client will initiate a UDP (User
            Datagram Protocol) loopback test to verify the connectivity to the Cloud9 STUN
            servers. If the UDP loopback test fails, an error will be indicated on the login
            screen. In the event of any failure, the test will continue to try and establish a
            connection.




                                       Performance Alerts



 6.4 Audio Broadcast
 The Audio Broadcast window can be accessed via a panel that slides out from the right side
 of the C9 Trader window.

 Audio Broadcast Features
    o Subscribe/unsubscribe for up to 20 predefined audio broadcast channels.
    o Volume control settings for each of the 20 audio broadcast channels.
    o Ability to hide/show the broadcast audio channel assignment window.
    o All-channel mute feature for quickly muting all actively monitored audio broadcast
        channels.

 Channel Subscribe/Unsubscribe
    o Subscribe: Click the channel you wish to make active. The channel will turn green, a
      volume indicator will appear – showing the volume of the channel, and the broadcast
      will begin transmitting through your speakers.
    o Unsubscribe: You can unsubscribe from an active channel at any time by clicking on
      the active channel.

 Internal Channels
 If your organization has established internal channels, or "hoots" you can subscribe to these
 by clicking the assigned hoot in the channel list. Please note, these internal hoots are for
 listen only and do not transmit voice.


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 C9 TRADER USER GUIDE



 Volume Settings
    o Individual Channel Control: To adjust the volume for an individual channel, use the
      slider to the right of the channel button.
    o Master Volume: The master volume button is positioned at the top of the Audio
      Broadcast tab. This tab remains visible when the Audio Broadcast window is in either
      an open or closed state. Users can mute all broadcast channels at the same time by
      clicking this button. To unmute the channels, click the button again.




                                         Audio Broadcast Panel




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 C9 TRADER USER GUIDE




 7. Application Updates
 Cloud9 maintains an active release schedule for new features and enhancements, so it is
 important to stay up to date with the latest release so you can take advantage of all the
 newest features. You can easily check which version you are running and whether
 updates are available by looking at the top right corner of the application window, or by
 selecting About C9 Trader in the Settings menu.

 If an update is available, it will be applied silently every time the user logs into the
 application.




                                      Application Updates




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                       EXHIBIT
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                                                                                                 QUICK START GUIDE



                                                 10 Steps to Getting Started
                                                 on Cloud9 Trader
                                                 Set up your Cloud9 application and revolutionize
Let’s get started!                               the way you trade in just minutes.



  1                                         2                                          3
Welcome to                                 Sound Check:                               Making Connections:
the Community                              Setting Up Audio                           Find Your Counterparties
Click the installation link in the email   In the Audio Devices tab of the            Go to the Community tab, select the
you received from the Cloud9 support       Settings Menu, click the dropdown and      community you belong to, and click
team, and log in using your user name      select the devices you wish to use for     the trading desk you would like to
and temporary password provided in         the microphone, speaker and handset.       connect with. Use the Search function
the email.                                 Adjust the volume levels for all devices   to find new counterparties. Next, click
                                           and set your notifications.                the invite button to create an invitation.



 6                                          5                                          4
Let’s Talk:                                Give a Shout . . .                         Setting Up Buttons and
Initiating a Call                          or a Ring                                  Managing Invitations
Click a button to begin a call. When       When creating a button, you’re given       After creating an invitation, name the
the counterparty responds, the button      the option to choose between a shout       button that will display in your Cloud9
will light up and turn green. Hang up by   down or a ring down connection. This       window, and your counterparty’s
clicking the button or the phone icon      option can be customized for each          window.
in the lower left of the screen.           connection.




 7                                          8                                          9
All Together Now:                          Managing Your Buttons                      Sorry I Missed You:
Setting Up Group Buttons                   Click on the Community tab, then           Call History
                                           select My Buttons. When you click          Shows all calls that have taken place
Go to Broadcast Groups in Settings
                                           on a button, you’ll be able to see         or that were missed during the time
to manage group buttons, which
                                           information relating to that button.       that you were logged into Cloud9.
enable you to shout down to multiple
                                           Move the location of your button           View call participants, date, time and
connections at a time.
                                           by dragging it to a new position the       call duration for calls.
                                           screen. To delete a button, click the
                                           trashcan icon.


                                                                                      10
Congratulations                                                                       Help!
You’re ready to start using Cloud9!                                                   Contacting Support
How easy was that?!                                                                   In the settings menu, click Technical
                                                                                      Support, to send an email to Cloud9.
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                       EXHIBIT
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                          REDACTED
                            IN ITS
                          ENTIRETY
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                       EXHIBIT
                          9
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CUSTOMER/EN/LOGIN?                                                                              LOGIN (/CUSTOMER/EN/LOGIN?                                                   C O N TA C T
ARTICLES%2F2752710-                  R E T U R N _ TO = % 2 F C U S TO M E R % 2 F E N % 2 F P O R TA L % 2 FA R T I C L E S % 2 F 2 7 5 2 7 1 0 -        ( / C U S TO M E R / P O R TA L / E M A I L S / N E W )
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   (/)


   HOME (HTTPS://CLOUD9TECHNOLOGIES.DESK.COM/)       /   ACCOUNT BASICS (/CUSTOMER/EN/PORTAL/TOPICS/1044335-ACCOUNT-BASICS/ARTICLES)                 /   C9 TRADER SYSTEM REQUIREMENTS ()



                                                                                                                                                              Portal Basics

   C9 Trader System                                                                                                                                           (/customer/en/portal/topics/104467
                                                                                                                                                              portal-basics-/articles)


   Requirements                                                                                                                                               Managing Firms
                                                                                                                                                              (/customer/en/portal/topics/104743
   To e ciently run the C9 Trader application, the operating system requirements as follows:                                                                  managing- rms-/articles)

                                                                                                                                                              Managing Groups
          Windows 7 or higher operating system
                                                                                                                                                              (/customer/en/portal/topics/104745
          Intel i5 or greater processor                                                                                                                       managing-groups/articles)

          A built in sound device or USB sound device with playback (speakers) and recording                                                                  Managing Users
          (microphone). Cloud9 speaker and microphone devices are recommended, and have been                                                                  (/customer/en/portal/topics/104787
          optimized for the application.                                                                                                                      managing-users-/articles)

          Internet access (wired or wireless)                                                                                                                 Managing Connections
                                                                                                                                                              (/customer/en/portal/topics/104853
          Google Chrome web browser
                                                                                                                                                              managing-connections/articles)
          When a user is not transmitting or receiving audio, Internet bandwidth consumption is
                                                                                                                                                              Managing Call Recordings
          negligible. When a user selects a Cloud9 button, the brief transmit process (seconds) will
                                                                                                                                                              (/customer/en/portal/topics/104856
          generate 80kbps/sec of Internet bandwidth per user.
                                                                                                                                                              managing-call-recordings/articles)
          During peak tra c communications, the Cloud9 application should not consume more than 10-
                                                                                                                                                              Viewing Portal Logs
          15% CPU performance.
                                                                                                                                                              (/customer/en/portal/topics/104861
                                                                                                                                                              viewing-portal-logs/articles)

                                                                                                                                                              Account Basics
                                                                                                                                                              (/customer/en/portal/topics/104433
                                           Was this article helpful?
                                                                                                                                                              account-basics/articles)
                                                                                                                                                              Logging In
                                                           YES THANKS!
                                                                                                                                                              (/customer/en/portal/articles/2719258-
                                                                                                                                                              logging-in)
                                                         N O , N O T R E A L LY
                                                                                                                                                              Setting Up Audio
                                                                                                                                                              (/customer/en/portal/articles/2730830-
                                                                                                                                                              setting-up-audio-)

                                                                                                                                                              Button Board Overview and Setup
                                                                                                                                                              (/customer/en/portal/articles/2815151-
                                                                                                                                                              button-board-overview-and-setup)

                                                                                                                                                              Managing Button Volume
                                                                                                                                                              (/customer/en/portal/articles/2730831-
                                                                                                                                                              managing-button-volume)

                                                                                                                                                              Button Presence Indicators
                                                                                                                                                              (/customer/en/portal/articles/2730832-
                                                                                                                                                              button-presence-indicators)

                                                                                                                                                              The Cloud9 Community
                                                                                                                                                              (/customer/en/portal/articles/2730833-
                                                                                                                                                              the-cloud9-community-)
Case 1:16-cv-00443-GMS Document 42-1 Filed 12/12/17 Page 79 ofBuilding A Connection
                                                               80 PageID         #: 872
                                                                     (/customer/en/portal/articles/2730835-
                                                                     building-a-connection)

                                                                     Calling Counterparties
                                                                     (/customer/en/portal/articles/2730836-
                                                                     calling-counterparties-)

                                                                     Minimizing the C9 Trader on Your Desktop
                                                                     (/customer/en/portal/articles/2730838-
                                                                     minimizing-the-c9-trader-on-your-
                                                                     desktop)

                                                                     Managing Application Settings
                                                                     (/customer/en/portal/articles/2730839-
                                                                     managing-application-settings)

                                                                     Setting Up and Managing Broadcast Groups
                                                                     (/customer/en/portal/articles/2730840-
                                                                     setting-up-and-managing-broadcast-
                                                                     groups)

                                                                     Managing Audio Devices
                                                                     (/customer/en/portal/articles/2730842-
                                                                     managing-audio-devices-)

                                                                     Managing Noti cation Settings
                                                                     (/customer/en/portal/articles/2730844-
                                                                     managing-noti cation-settings-)

                                                                     Shoutdowns vs Ringdowns
                                                                     (/customer/en/portal/articles/2733854-
                                                                     shoutdowns-vs-ringdowns-)

                                                                     Getting To Know Cloud9
                                                                     (/customer/en/portal/articles/2726445-
                                                                     getting-to-know-cloud9)

                                                                     Enabling Single-Sign On
                                                                     (/customer/en/portal/articles/2802843-
                                                                     enabling-single-sign-on)

                                                                     C9 Trader System Requirements
                                                                     (/customer/en/portal/articles/2752710-c9-
                                                                     trader-system-requirements)

                                                                     Performance Alerts
                                                                     (/customer/en/portal/articles/2755188-
                                                                     performance-alerts-)

                                                                     The Cloud9 Community
                                                                     (/customer/en/portal/topics/104892
                                                                     the-cloud9-community/articles)

                                                                     Making a Call
                                                                     (/customer/en/portal/topics/104892
                                                                     making-a-call/articles)

                                                                     Click to Call
                                                                     (/customer/en/portal/topics/104892
                                                                     click-to-call/articles)

                                                                     Audio Broadcast
                                                                     (/customer/en/portal/topics/107512
                                                                     audio-broadcast/articles)
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                                                                               80 PageID
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                                                                                                                                           managing-audio/articles)

                                                                                                                                           Accessories & Devices
                                                                                                                                           (/customer/en/portal/topics/104892
                                                                                                                                           -accessories-devices/articles)

                                                                                                                                           Multi-Device Support
                                                                                                                                           (/customer/en/portal/topics/109456
                                                                                                                                           multi-device-support/articles)




                                       C9                             C9 GUIDES                                                         C9 VIDEO GUIDES
                                      HELP    ( / C U S TO M E R / P O R TA L / A R T I C L E S / 2 7 2 6 4 4 2 -   ( / C U S TO M E R / P O R TA L / A R T I C L E S / 2 7 2 6 4 4 5 -    BAC
                                     CENTER                  GUIDES?B_ID=15791)                                               G E T T I N G -T O - K N O W - C L O U D 9 ?                (HTT
                                       (/)                                                                                                  B_ID=15791)
(/)



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